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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

JP Morgan Chase Bank, National Association
                                                        Plaintiff,
v.                                                                   Case No.:
                                                                     1:19−cv−05770
                                                                     Honorable Thomas M.
                                                                     Durkin
Federal Deposit Insurance Corporation, As Receiver
for Washington Federal Bank for Savings, et al.
                                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 1, 2021:


        MINUTE entry before the Honorable Heather K. McShain: The Court has
reviewed the parties' joint status report [134] and adopts the parties' proposed discovery
schedule as follows: all fact discovery, including written discovery and depositions, to be
completed by 09/30/2021. This schedule applies to all parties in this case, including
third−party defendant First Midwest Bank. Although First Midwest argues that it should
not be required to participate in discovery before the District Judge rules on its
forthcoming motion to dismiss the amended complaint filed by third−party plaintiff
Martha Padilla, "[t]he mere filing of a motion to dismiss does not automatically stay
discovery." New England Carpenters Health & Welfare Fund v. Abbott Labs., No. 12 C
1662, 2013 WL 690613, at *1 (N.D. Ill. Feb. 20, 2013). Further joint status report due
07/16/2021 to update the Court on: (a) the progress of discovery; (b) the status of
settlement discussions, if any; and (c) any other issues the parties wish to raise with the
Court. The parties should be mindful that, notwithstanding any preference to take
depositions in person, they cannot expect this in the current environment, nor can they
reasonably expect the case to be put on hold until that changes. To be more specific, the
parties are to assume that all depositions will have to be taken by remote means (unless
both sides and the witness consent to an in−person deposition) and are to plan
accordingly. Delay due to a desire to take in−person depositions at a later date will not be
a basis for extending any discovery deadline beyond the current deadline. The parties may
contact chambers at any time (via email to Chambers_McShain@ilnd.uscourts.gov) if
they would like the Court's assistance with settlement. Mailed notice. (pk, )




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criminal dockets of this District. If a minute order or other document is enclosed, please
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